

Matter of Meko H., Jr. (Meko H., Sr.) (2019 NY Slip Op 00799)





Matter of Meko H., Jr. (Meko H., Sr.)


2019 NY Slip Op 00799


Decided on February 1, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on February 1, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., PERADOTTO, LINDLEY, CURRAN, AND TROUTMAN, JJ.


1436 CAF 18-00084

[*1]IN THE MATTER OF MEKO H., JR. ERIE COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; MEKO H., SR., RESPONDENT-APPELLANT. (APPEAL NO. 3.) 






DAVID J. PAJAK, ALDEN, FOR RESPONDENT-APPELLANT.
AMBER R. POULOS, BUFFALO, FOR PETITIONER-RESPONDENT. 


	Appeal from an order of the Family Court, Erie County (Sharon M. LoVallo, J.), entered December 26, 2017 in a proceeding pursuant to Social Services Law § 384-b. The order, among other things, terminated respondent's parental rights to the subject child. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Ashante H. ([appeal No. 1] — AD3d — [Feb. 1, 2019] [4th Dept 2019]).
Entered: February 1, 2019
Mark W. Bennett
Clerk of the Court








